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                                    UNITED STATES OF AMERICA
                                  Federal Trade Commission
                                       Washington, D.C. 20580




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                                                                May 25, 2023

Molly Dwyer, Clerk of Court
Office of the Clerk
U.S. Court of Appeals for the Ninth Circuit
95 Seventh Street
San Francisco, California 94103

                              Re: FTC v. Apex Capital Group, LLC, No. 22-55342

Dear Ms. Dwyer:

      Pursuant to F.R.A.P. 28(j), I write to inform the Court of the decision in
FTC v. Hewitt, No. 21-56037, 2023 WL 3364496 (9th Cir. May 11, 2023), a
published opinion pertinent to an issue in this case.

       We showed in our brief that Wells Fargo lacks Article III standing to
intervene in this case in part because redress for its asserted injury is unlikely. One
reason for that unlikelihood is that redress depends on the district court’s
willingness to modify the underlying judgments in this case under Fed. R. Civ. P.
60(b) in the wake of AMG Cap. Mgmt., LLC v. FTC, 141 S. Ct. 1341 (2021). Such
a modification, we showed, is purely speculative (and indeed had already been
denied by the district court with respect to different litigants). FTC Br. 22-24.

       The Court’s decision in Hewitt underscores the unlikelihood of relief under
Rule 60(b). Hewitt affirmed the district court’s order in FTC v. John Beck Amazing
Profits, LLC, No. 9-cv-4719-MWF, 2021 WL 4313101 (C.D. Cal. Aug. 19, 2021),
declining to vacate a judgment in the wake of AMG under Rule 60(b). See FTC Br.
24 n.9. As pertinent here, the Court held that relief under Rule 60(b)(5) was
unavailable because the monetary judgment lacked prospective application. 2023
WL 3364496, at *4. The Court also held that Rule 60(b)(6) relief was available
only in “extraordinary circumstances,” and that AMG was “hardly extraordinary”
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where the underlying judgment was “consistent with then-prevailing circuit
precedent.” Id. at *5. Moreover, the gravity of the unlawful conduct, the extent of
consumer injury, and “the potential for materially similar relief under alternative
remedial pathways” also disfavored relief. Id. at *6. Each of those factors is
present in this case. Hewitt therefore supports the district court’s conclusion that
“Wells Fargo fails to establish that its injury could be redressed through
intervention[.]” 1-ER-6.

                                                    Sincerely,

                                                    s/ Michael D. Bergman
                                                    Michael D. Bergman
                                                    Attorney
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                      CERTIFICATE OF COMPLIANCE

      I certify that the body of the foregoing letter contains 306 words and is thus
in compliance with the 350-word count limit in Fed. R. App. P. 28(j) and 9th Cir.
R. 28-6.


May 25, 2023                                  Michael D. Bergman
                                              Michael D. Bergman
                                              Attorney
                                              Federal Trade Commission




                         CERTIFICATE OF SERVICE

       I certify that on May 25, 2023, I electronically filed the foregoing with the
Clerk of the Court for the United States Court of Appeals for the Ninth Circuit by
using the CM/ECF system. I certify that all participants in the case are registered
CM/ECF users and that service will be accomplished by the CM/ECF system.

May 25, 2023                                  Michael D. Bergman
                                              Michael D. Bergman
                                              Attorney
                                              Federal Trade Commission
